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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


FACULTY, ALUMNI, AND STUDENTS
OPPOSED TO RACIAL PREFERENCES
(FASORP),

                            Plaintiff,

       v.

NORTHWESTERN UNIVERSITY; HARI
OSOFSKY, in her official capacity as dean of         Case No. 24-cv-5558
Northwestern University School of Law; SARAH
LAWSKY, JANICE NADLER, AND DANIEL                    District Judge Sara L. Ellis
RODRIGUEZ, in their official capacities as
professors of law at Northwestern University;
DHEVEN UNNI, in his official capacity as editor in
chief of the Northwestern University Law Review;
JAZMYNE DENMAN, in her official capacity as
senior equity and inclusion editor of the
Northwestern University Law Review,

                            Defendants.



     DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants move to

dismiss Plaintiff’s First Amended Complaint (“FAC”), Dkt. No. 25.

                                       INTRODUCTION

       Faculty, Alumni, and Students Opposed to Racial Preferences (“FASORP”) is an

organization designed for litigation that has never brought a meritorious case. FASORP’s two

previous attempts to sue universities on similar grounds were dismissed for lack of standing and

failure to state a claim. See FASORP v. N.Y.U. L. Rev., 2020 WL 1529311 (S.D.N.Y. Mar. 31,

2020) (NYU I), aff’d, 11 F.4th 68 (2d Cir. 2021) (NYU II); FASORP v. Harv. L. Rev. Ass’n, 2019

WL 3754023 (D. Mass. Aug. 8, 2019). Hoping the third time will be the charm, FASORP here

sues Northwestern University and (gratuitously) the Dean of its Law School, three law professors,

and two law students, alleging violations of Title VI, Title IX, and 42 U.S.C. § 1981.

       The third time is not the charm. The bulk of the FAC is directed at maligning six Black law

professors as unworthy of their appointments to the law faculty or unworthy to publish in the

Northwestern University Law Review (“Law Review”). FASORP accuses some of these faculty

members and authors of plagiarism and denigrates the credentials of others. The grotesque premise

of FASORP’s suit is that, because those Black professors were hired or published while certain

white male professors were not, the cause must be discrimination, not merit. Despite spilling much

ink on its attacks on these Black professors, none of FASORP’s plagiarism allegations or other

vilifications advance its claims. The FAC is deeply flawed and should be dismissed.

       FASORP’s claims fail out of the gate for lack of standing. Although FASORP amended its

complaint to add snippets of information about its members—the three anonymous white male

professors it claims were not hired, and on which its claim to associational standing rests—the

amendments only underscore the deficiencies of its claims. FASORP now contends some (but not

all) of those professors applied for entry-level positions (at undisclosed times), and expressed
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“interest” in lateral appointments (in some undisclosed manner and again at undisclosed times) to

some undisclosed Northwestern faculty member. And FASORP still fails to offer an adequate

account of its members’ qualifications, including basic details such as where they currently teach.

These vague and conclusory allegations are insufficient to establish Article III injury.

       FASORP’s claims regarding the Law Review fare no better. FASORP objects to the

member- and editor-selection processes, but it does not identify any FASORP member who is a

current or former law student, much less one who unsuccessfully applied to the Law Review.

FASORP also criticizes the article-selection process, but fails to provide sufficient detail regarding

its members’ submissions, such as when they were made or their subject matter. And FASORP’s

new allegation that the Law Review rejected the “vast majority” of its three members’ submissions

implicitly concedes that at least one of their articles was accepted, undercutting the allegation that

past rejections were based on race and showing that any risk of future rejection is speculative.

       Setting aside standing, FASORP’s claims fail on the merits. FASORP sues several

individual defendants in their official capacities, but Seventh Circuit precedent prohibits that

where, as here, doing so is duplicative of suing the University. Moreover, the individual defendants

cannot be sued under Title VI or Title IX, which apply only to federally-funded entities. In

addition, Title VI and Title IX do not permit employment discrimination claims except in narrow

circumstances not present here, and FASORP’s allegations are entirely conclusory and lack the

necessary factual predicates to state a Title VI, Title IX, or Section 1981 claim.

       Ultimately, this Court should see this case for what it is: a poorly conceived, highly

offensive piece of propaganda brought to hurl improper attacks against Black faculty and to further

FASORP’s cause—and that of the group backing the suit, America First Legal—not a serious legal

document belonging in a court of law.



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                                       BACKGROUND

       A.     The Parties

       FASORP is a membership organization that advocates against “diversity considerations”

in academia. Dkt. 25 ¶ 3. The FAC does not allege that FASORP has any members who are current

students at, or alumni of, the Law School. Nor does the FAC identify any FASORP member by

name. It instead refers to three members by pseudonym—Individuals A, B, and C—and alleges

that they are white, heterosexual, cisgender men who currently serve as tenured or tenure-track

law professors at unnamed ABA-accredited law schools. Id. ¶¶ 100-116.

       Northwestern University is a premier educational institution. Id. ¶ 4. Defendant Hari M.

Osofsky is the Dean of the Law School, and Defendants Sarah Lawsky, Janice Nadler, and Daniel

Rodriguez are professors (and Rodriguez a former dean) there. Id. ¶¶ 5-8. Defendant Dheven Unni

is a student at the Law School and the Law Review’s editor-in-chief, and Defendant Jazmyne

Denman is a student as well and the Law Review’s senior equity and inclusion editor. Id. ¶¶ 9-10.

       B.     Faculty Hiring At The Law School

       FASORP describes the Law School’s efforts to include more candidates from

underrepresented backgrounds in the pool of applicants as a “mandate to hire as many non-white

and non-male faculty candidates as possible.” Id. ¶ 11. FASORP acknowledges that the Law

School interviews and extends faculty offers to white, heterosexual, cisgender men. Id. ¶¶ 45-48.

Nevertheless, FASORP contends that the Law School “intentionally and consciously

discriminate[s] in favor of black, Hispanic, Asian, female, homosexual, and transgender faculty

candidates, and against white men who are heterosexual and non-transgender.” Id. ¶ 12.

       The FAC focuses largely on comparing the credentials of three white male professors who

were not hired with the credentials of five Black professors—four women and one man, although

FASORP devotes most of its agita to the women—who were hired. Id. ¶¶ 15-42. These three white
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male professors are not alleged to be Individuals A, B, and C or FASORP members, and FASORP

acknowledges they did not “play[] any role in initiating this lawsuit.” Id. ¶ 15 n.1. Regarding its

actual members, FASORP alleges that Individuals A and C previously applied for the faculty, but

does not say when and provides only the barest of details as to their qualifications. Id. ¶¶ 109, 111.

       Finally, FASORP alleges that the search for a Law School dean in 2022 was “rigged … to

ensure that no man would be chosen for the job.” Id. ¶¶ 50-51. FASORP does not allege that any

of its members applied, or would have been competitive, for the job. Id. ¶¶ 99-105, 107, 160-165.

       C.      Law Review Member And Editor Selection

       FASORP alleges that “[t]he student editors” of the Law Review rely on “discriminatory

preferences … when selecting their members and editors.” Id. ¶ 79. FASORP concedes that the

Law Review’s policy explicitly states that it “does not discriminate on the basis of race, ethnicity,

religion, socioeconomic background, disability, nationality, sexual orientation, gender orientation

and identity, or ideological perspective.” Id. ¶ 80. Nevertheless, FASORP alleges that the Law

Review uses applicants’ “personal statements” “to discriminate against white men and in favor of

women, racial minorities, homosexuals, and transgender people.” Id. FASORP does not allege that

any of its members applied, or are ready and able to apply, for Law Review membership or for

any specific editorial position, or even that they are or were Northwestern law students.

       D.      Law Review Article Selection

       FASORP claims that the Law Review discriminates on the basis of race, gender, gender

identity, and sexual orientation in article selection. Dkt. 25 ¶ 84. FASORP makes conclusory

assertions that some of Individual A, B, and C’s prior submissions were rejected on the basis of

race, while implicitly conceding at least one of their articles was accepted. Id. ¶¶ 84, 112, 114-116.

The sole factual allegation FASORP offers to support that claim is that the Law Review published

a single issue that “consist[ed] only of articles written by black women.” Id. ¶ 84. FASORP
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concedes that this issue was not expressly limited to articles written by Black women, but claims

the Law Review nevertheless secretly applied discriminatory criteria. Id. FASORP does not allege

that Individual A, B, or C submitted articles for this issue. Id. ¶¶ 84, 112, 114-116.

                                      LEGAL STANDARD

       When a court is presented with a motion to dismiss that argues both lack of subject matter

jurisdiction under Rule 12(b)(1) and failure to state a claim under Rule 12(b)(6), the Rule 12(b)(1)

challenge should be addressed first. Yassan v. J.P. Morgan Chase & Co., 708 F.3d 963, 967 n.1

(7th Cir. 2013).

       On a Rule 12(b)(1) motion, the plaintiff bears the burden of showing that subject matter

jurisdiction exists. Apex Digit., Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009).

Where, as here, the defendants make a facial challenge to standing,1 the “district court must accept

as true all well-pleaded factual allegations, and draw reasonable inferences in favor of the

plaintiff.” Ezekiel v. Michel, 66 F.3d 894, 897 (7th Cir. 1995) (citations omitted).

       To survive a Rule 12(b)(6) motion, the plaintiff must “state a claim to relief that is plausible

on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In ruling on a Rule 12(b)(6)

motion, the court must determine (1) whether the complaint “describe[s] the claim in sufficient

detail to give the defendant ‘fair notice of what the … claim is and the grounds upon which it

rests,’” and (2) whether the allegations “plausibly suggest that the plaintiff has a right to relief,

raising that possibility above a ‘speculative level,’” E.E.O.C. v. Concentra Health Servs., Inc., 496



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  Because FASORP does not identify Individual A, B, or C by name, Defendants are limited to a
facial challenge to its standing. See Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015). If this
suit is not dismissed, Defendants will seek their names to bring a possible factual challenge to
standing, which allows the court to “look beyond the pleadings” and consider extrinsic evidence.
Id. (citation omitted); see also Prairie Rivers Network v. Dynegy Midwest Generation, LLC, 2
F.4th 1002, 1011 (7th Cir. 2021) (citing cases that read Summers v. Earth Island Inst., 555 U.S.
488 (2009), “to expressly require names for associational standing on the pleadings”).
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F.3d 773, 776 (7th Cir. 2007) (quoting Twombly, 550 U.S. at 555). “[A]ll statements of fact in the

complaint are taken as true and all reasonable inferences must be drawn in favor of [the plaintiff].”

Dixon v. Page, 291 F.3d 485, 486 (7th Cir. 2002) (citation omitted).

                                           ARGUMENT

        The FAC suffers from numerous flaws that independently warrant dismissal. FASORP

lacks Article III standing, improperly directs claims against individual defendants, and fails to

allege facts sufficient to state a Title VI, Title IX, or Section 1981 claim.

I.      FASORP LACKS ARTICLE III STANDING.

        To allege associational standing, FASORP must identify at least one member who has

standing to sue in his own right. Prairie Rivers Network, 2 F.4th at 1010. A member has standing

if he can show “(i) that he suffered an injury in fact that is concrete, particularized, and actual or

imminent; (ii) that the injury was likely caused by the defendant[s]; and (iii) that the injury would

likely be redressed by judicial relief.” TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021)

(citations omitted). FASORP fails to make that showing.

        A.     FASORP Lacks Standing To Challenge The Law School’s Faculty Hiring.

        FASORP lacks standing to challenge the Law School’s faculty hiring process.

        First, FASORP pleads insufficient facts regarding the status of Individual A, B, or C’s, or

any other member’s, efforts to join the faculty. FASORP conspicuously fails to allege that

Individual B ever applied. Nor does FASORP allege he has taken any concrete steps toward

applying. Merely stating that Individual B “wants to be, and would apply to be,” a professor is not

enough. Carney v. Adams, 592 U.S. 53, 60-61 (2020); see Box v. A & P Tea Co., 772 F.2d 1372,

1377 (7th Cir. 1985) (plaintiff must “do more than show she had a general interest”); Harker v.

Meta Platforms, Inc., 2024 WL 3990261, at *3 (S.D.N.Y. Aug. 29, 2024).



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        Although FASORP alleges that Individuals A and C applied as entry-level candidates and

“informed at least one person on Northwestern’s law faculty of their interest in a lateral faculty

appointment,” Dkt. 25 ¶¶ 107-108, neither allegation suffices for standing. Critically, FASORP

does not allege when Individuals A and C applied as entry-level candidates or when they

“informed” a faculty member of their “interest” in a lateral appointment, including whether any

purported applications would have been considered at the same time as those of the Black faculty

discussed in the complaint. As for the lateral-hiring process specifically, FASORP does not allege

facts sufficient to establish standing even under its own description of the informal application

process. FASORP conspicuously fails to allege to whom or in what manner they expressed their

interest, including whether Individuals A or C provided CVs, research agendas, writing samples,

recommendations, or other materials to support their candidacy. These allegations are insufficient.

See Carney, 592 U.S. at 60-61 (merely stating plaintiff “wants to be” a judge was not enough).

        Further, the FAC asserts that lateral candidates must “convince intermediaries [on the

faculty] to convince the appointments committee to recruit” them. Dkt. 25 ¶ 108. But even

accepting that premise, FASORP alleges only that Individuals A and C “informed” someone on

the faculty of their “interest”; it does not allege they actually asked, let alone convinced, any faculty

member to intercede with the appointments committee. Absent any such allegation, FASORP does

not allege that the appointments committee or Dean was aware of their interest, much less that they

rejected their “application.” FASORP thus cannot show that Defendants caused any injury. Koch

Ref. v. Farmers Union Cent. Exch., Inc., 831 F.2d 1339, 1340 (7th Cir. 1987) (plaintiffs lacked

standing because they failed to show a direct injury resulting from defendant’s conduct).

        FASORP’s vague allegation that Individuals A and C plan to express “interest” in future

years, Dkt. 25 ¶ 108, is also insufficient to show a “substantial risk” of harm. Hummel v. St. Joseph



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Cnty. Bd. of Comm’rs, 817 F.3d 1010, 1019 (7th Cir. 2016). FASORP acknowledges that

Northwestern has interviewed and hired white male professors, Dkt. 25 ¶¶ 45-48, underscoring

that there is no race- or gender-based bar. Instead, FASORP simply asserts, without supporting

factual allegations, that the Black professors attacked in the FAC were hired because of their race

(and sometimes their gender). Id. ¶¶ 21-42. These conclusory allegations do not establish a

“substantial risk” that Individual A or C will be discriminated against in the future. See Doe v.

N.Y.U., 2024 WL 2847368, at *5 (S.D.N.Y. May 30, 2024) (NYU III) (“[C]onsidering the lack of

any well-pleaded allegations of a discriminatory selection process, [plaintiff’s] purported injury

likewise rests on nothing more than speculation and conjecture.”).

       Second, Individuals A, B, and C lack standing for the independent reason that they fail to

plausibly allege they were qualified to teach at Northwestern. As the Seventh Circuit has

explained, to plead standing, a plaintiff must allege he was “qualified for the position sought.”

Melendez v. Ill. Bell Tel. Co., 79 F.3d 661, 668 (7th Cir. 1996) (citation omitted); see also Houser

v. Pritzker, 28 F. Supp. 3d 222, 236-37 (S.D.N.Y. 2014) (collecting cases holding that “to establish

an injury-in-fact,” the “plaintiff must at least demonstrate that he met the minimum qualifications

for the position ultimately denied”) (citation omitted). “The basis for this qualification requirement

is apparent. Absent direct evidence showing that a plaintiff was not hired or promoted because of

a discriminatory employment practice, we assume that an unqualified plaintiff was not hired or

promoted for the obvious reason—that he was unqualified.” Melendez, 79 F.3d at 668.

       FASORP fails to allege injury in fact because the FAC says little about Individual A, B, or

C’s qualifications. FASORP amended its complaint to include minimal information, including that

Individual A “published more than 15 scholarly articles and one book”; that Individual B

“published more than 30 scholarly articles,” has “20 years of experience,” and once “served as a



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visiting professor at a top-five law school”; and that Individual C “published more than 50

scholarly articles or book chapters and one book,” has “20 years of experience,” and once “served

as a visiting professor at a top-five law school.” Dkt. 25 ¶¶ 109-111. But these vague amendments

are insufficient to support a plausible allegation that they were “qualified for the position sought.”

Melendez, 79 F.3d at 668 (citation omitted). Indeed, FASORP does not allege their areas of

expertise; where they earned their J.D.s (or Ph.D., if applicable); their academic record and class

ranking; what law reviews they published in, how frequently they have been cited, or any other

indication of scholarly impact; or whether they have been offered lateral positions at any peer

schools. The FAC does not even allege where they currently teach, stating only they teach at

“ABA-accredited law school[s].” Dkt. 25 ¶¶ 100, 102, 104. But there are 197 ABA accredited law

schools,2 and Northwestern is ranked ninth.3 FASORP’s allegations thus fall short of what is

required to show they are qualified to teach at the Law School and thus to plead standing. See Do

No Harm v. Pfizer Inc., 646 F. Supp. 3d 490, 506 (S.D.N.Y. 2022) (dismissing Section 1981

challenge to fellowship program on standing grounds where plaintiff provided “very little facts

showing that [its] members—from undisclosed universities, with unnamed majors or courses of

study, with little to no details about their career and educational goals, employment history, or

interests—were ready and able to apply”), aff’d on other grounds, 96 F.4th 106 (2d Cir. 2024).




2
  ABA-Approved Law Schools: Number of ABA-Approved Law Schools, Am. Bar. Ass’n,
https://www.americanbar.org/groups/legal_education/resources/aba_approved_law_schools (last
visited Oct. 24, 2024). The Court may take judicial notice of this fact because it is “not subject to
reasonable dispute” and “can be accurately and readily determined from sources whose accuracy
cannot reasonably be questioned.” Fed. R. Evid. 201(b).
3
 Northwestern University (Pritzker), U.S. News & World Report, https://www.usnews.com/best-
graduate-schools/top-law-schools/northwestern-university-03050 (last visited Oct. 24, 2024). The
Court may take judicial notice of this fact for the reasons stated above. See supra at 9 n.2.
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       The absence of basic information regarding Individuals A, B, and C is particularly striking

given that the FAC is premised on the baseless assertion that certain Black law professors

Northwestern hired were unqualified based on the ranking of the law school they attended and

their academic and publication records. Dkt. 25 ¶¶ 21, 23, 26, 34, 36, 37, 40, 42. Because

FASORP’s “threadbare” allegations are insufficient to establish an Article III injury, its claim

should be dismissed. Harv. L. Rev. Ass’n, 2019 WL 3754023, at *5-8 (dismissing FASORP’s

claims against Harvard Law Review because FASORP alleged only that a member “intend[ed] to

apply,” but did not provide details on the member’s “academic background,” “test scores,” or other

qualifications).

       B.      FASORP Lacks Standing To Challenge The Law Review’s Member And
               Editor Selection.

       FASORP lacks standing to challenge the Law Review’s member- and editor- selection

process because it does not allege that any of its members are or were students at Northwestern—

much less that they “applied for, or were rejected from, the Law Review[].” NYU II, 11 F.4th at

77. That alone is sufficient to dismiss any claims regarding member selection. While FASORP

points to one white male student whose Law Review application was rejected despite having high

grades, that student is not alleged to be a FASORP member. Dkt. 25 ¶ 83. And FASORP does not

identify any student—whether or not a FASORP member—who was denied a specific editorial

position, such as Articles Editor, on allegedly discriminatory grounds.

       FASORP nonetheless contends that it has standing because its members’ “submissions [of

articles] will be judged by students with lower academic credentials” given that the Law Review

has “subordinate[d] academic merit” to “race and sex preferences.” Id. ¶ 113. FASORP made this

same dubious argument in the Southern District of New York and the Second Circuit, and both

courts rejected it. NYU II, 11 F.4th at 73, 77; NYU I, 2020 WL 1529311, at *5-6. After all, “there


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is no legal right to have one’s article reviewed or published by a student-run academic law journal,”

much less a right to have them reviewed by the “most ‘capable’ students.” NYU I, 2020 WL

1529311, at *5-6; see NYU II, 11 F.4th at 77. FASORP likewise lacks standing here.

       C.      FASORP Lacks Standing To Challenge The Law Review’s Article Selection.

       The FAC confirms that FASORP lacks standing to challenge the Law Review’s

article-selection process. FASORP contends that Individuals A, B, and C submitted articles to the

Law Review at some point and that the “vast majority were rejected.” Dkt. 25 ¶¶ 114-116.

FASORP thus implicitly concedes that at least one of their articles was accepted. Regarding the

allegedly rejected articles, FASORP does not say when they were rejected or whether they were

accepted elsewhere, much less at a peer journal. Finally, while the FAC alleges that the editors of

Volume 118 published an issue “consist[ing] only of articles written by black women,” id. ¶ 84,

FASORP does not allege that its members submitted articles to that issue and were rejected.

       FASORP’s allegations regarding its members’ submissions are impossible to square with

its allegations that the Law Review applied race-restrictive criteria, as FASORP alleges no facts

suggesting that its members’ race and gender were the reason that some (but not all) of their articles

were rejected. Absent any such allegation, FASORP cannot show a past injury. FASORP similarly

fails to show an imminent risk of future injury. FASORP alleges that Individuals A, B, and C are

preparing articles to submit between February 2025 and February 2026, but it provides no other

information regarding these plans, such as the subject matter of the articles or range of law reviews

to which they will be submitted. Id. at ¶¶ 114-16. FASORP also alleges no facts supporting the

claim that the Law Review is likely to discriminate based on race or gender if its members ever

actually submit articles in the future—indeed, the facts alleged indicate otherwise, as the FAC

acknowledges the Law Review’s non-discrimination policy and implicitly concedes that at least



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one member had an article accepted. Dkt. 25 ¶¶ 80, 115; see NYU III, 2024 WL 2847368, at *4-5

(dismissing for lack of standing because alleged harm was too conclusory); NYU II, 11 F.4th at 76

(affirming dismissal of FASORP’s challenge to NYU Law Review’s article-selection process);

Harv. L. Rev. Ass’n, 2019 WL 3754023, at *7 (same for Harvard Law Review).

         Finally, while FASORP contends that Individuals A, B, and C are a “representative

sample” and it has other members who have suffered harm, Dkt. 25 ¶ 118, it cannot rely on

unidentified members for standing. See Summers, 555 U.S. at 498 (requiring “specific allegations

establishing that at least one identified member had suffered or would suffer harm”).

II.      FASORP FAILS TO STATE A CLAIM ON THE MERITS.

         Even if FASORP has standing, its claims should be dismissed on the merits.

         A.     The Claims Against The Individual Defendants Should Be Dismissed.

         The claims against individual defendants, brought against them solely in their official

capacities, should be dismissed for two independent reasons.

         First, as the Seventh Circuit has explained, “an official capacity suit is another way of

pleading an action against an entity of which the [individual] is an agent.” Sow v. Fortville Police

Dep’t, 636 F.3d 293, 300 (7th Cir. 2011) (citation omitted). For that reason, official-capacity

claims are typically treated as redundant of claims against the institution and dismissed. See

Thanongsinh v. Bd. Of Educ., 462 F.3d 762, 771 & n.7 (7th Cir. 2006) (affirming dismissal of

official-capacity claim as “synonymous with [the] claim against the public entity itself”); Mojsoski

v. Ind. Wesleyan Univ., 2022 WL 17338426, at *11 (N.D. Ind. Nov. 30, 2022) (“[C]ourts have

consistently held that in discrimination-based civil rights actions, a defendant’s employees cannot

be sued in their official capacity because doing so would be redundant of suing the employer

itself.”). This Court should therefore dismiss the claims against the individual defendants.



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       Second, because Title VI and Title IX “only protect[] against discrimination” by

federally-funded entities, Title VI and Title IX claims “can only be brought against a grant

recipient and not an individual.” Smith v. Metro. Sch. Dist. Perry Twp., 128 F.3d 1014, 1019 (7th

Cir. 1997); see C.S. v. Couch, 843 F. Supp. 2d 894, 905 n.14 (N.D. Ind. 2011). These claims should

be dismissed for that reason, too.

       B.      FASORP Fails To State A Title VI Claim Against Any Defendant.

       Title VI prohibits racial discrimination in federally-funded programs. See 42 U.S.C.

§ 2000d. Seventh Circuit precedent prohibits FASORP from bringing a faculty hiring claim under

Title VI, and FASORP’s conclusory allegations regarding race-based discrimination in faculty

hiring and Law Review member, editor, and article selection fail to state a Title VI claim.

               1.      FASORP Cannot Bring An Employment Claim Under Title VI.

       FASORP’s faculty hiring claim fails because FASORP falls outside Title VI’s zone of

interests and Title VI does not provide a remedy for employment discrimination here.

                       a.     FASORP Falls Outside Title VI’s Zone of Interests.

       FASORP falls outside the zone of interests that Title VI protects. “[T]o bring a private

action under Title VI[,] ‘the plaintiff must be the intended beneficiary of, an applicant for, or a

participant in a federally funded program.’” Doe v. St. Joseph’s Hosp. of Ft. Wayne, 788 F.2d 411,

418-19 (7th Cir. 1986) (citation omitted), overruled on other grounds by Alexander v. Rush N.

Shore Med. Ctr., 101 F.3d 487 (7th Cir. 1996). Courts routinely dismiss Title VI claims brought

by teacher plaintiffs who were neither intended beneficiaries of, nor participants in, a

federally-funded program. See, e.g., Veljkovic v. Bd. Of Educ. Of Chi., 2020 WL 7626735, at *4




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(N.D. Ill. Dec. 22, 2020); Agbefe v. Bd. Of Educ. Of Chi., 538 F. Supp. 3d 833, 839 (N.D. Ill.

2021).

         FASORP asserts that its members are intended beneficiaries of, and participants in, a

federally-funded program simply because they are faculty members at other universities that

receive federal research grants. Dkt. 25 ¶¶ 125, 127. Even assuming (incorrectly) that would

suffice to sue those universities, it does not suffice to sue Northwestern. See Ahern v. Bd. Of Educ.

Of Chi., 133 F.3d 975, 976 (7th Cir. 1998) (considering whether the defendant received federal

financial assistance). To conclude otherwise would make any entity liable under Title VI whenever

someone happens to apply to that entity from any institution receiving federal funds.

         Alternatively, FASORP contends that its members are “applicants” for a federally-funded

program simply because they applied to Northwestern’s faculty. Dkt. 25 ¶ 125. Even if FASORP

had sufficiently alleged that any member applied for the faculty, see supra 6-10, they would be

“applicants” not to a federally-funded program, but rather to an institution that happens to receive

federal funds. If merely applying for a position at a university that receives federal funds could

bring a plaintiff within Title VI’s zone-of-interests, then every applicant for every university job

could sue under Title VI. That is not the law. See Doe, 788 F.2d at 420 (physician-employee not

within Title VI zone-of-interests where no allegation that physicians are intended beneficiaries of

any federally-funded program of the employee’s hospital); Miller v. Phelan, 845 F. Supp. 1201,

1207 (N.D. Ill. 1993) (rejecting Title VI claim of applicant to municipal transportation authority

board because “the most likely beneficiaries [of federal funding] … are the riders”).

                        b.     Title VI Does Not Cover FASORP’s Employment Claim.

         Even if FASORP members fell within Title VI’s zone-of-interests, its hiring claim fails for

an independent reason: “Title VI does not provide a judicial remedy for employment



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discrimination by institutions receiving federal funds unless (1) providing employment is a

primary objective of the federal aid, or (2) discrimination in employment necessarily causes

discrimination against the primary beneficiaries of the federal aid.” Ahern, 133 F.3d at 978

(citation omitted). This rule maintains the separation between Title VI and Title VII, the primary

statute governing employment discrimination. See Agbefe, 538 F. Supp. 3d at 838. Neither

exception to that rule applies here.

       First, FASORP does not plausibly allege that the primary objective of Northwestern’s

federal funding is to provide employment. Without identifying a single specific grant received by

Northwestern, FASORP contends that the primary purpose of federal research grants generally is

“to employ university faculty.” Dkt. 25 ¶ 129. Courts have consistently rejected this argument.

See, e.g., Meyerson v. State of Ariz., 709 F.2d 1235, 1237 (9th Cir. 1983) (“[P]roviding

employment was not one of the primary objectives of the instructional and research grants made

by the government to the University.”), judgment vacated, 465 U.S. 1095 (1984)4; Chuang v.

Regents of Univ. of Cal., 1998 WL 1671745, at *14 (E.D. Cal. Oct. 30, 1998) (same, noting that

many professors “already have fully-funded teaching or research positions independent of any

federal grants”), rev’d on other grounds, Chuang v. Univ. of Cal. Davis, Bd. of Tr., 225 F.3d 1115

(9th Cir. 2000); Moxley v. Vernot, 555 F. Supp. 554, 559-60 (S.D. Ohio 1982) (purpose of federal

funding was to support research on toxic gases, not to provide employment). As the Ninth Circuit

explained, the primary purpose of such grants is to “further scientific research and assist in the




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  The Ninth Circuit’s decision in Meyerson was vacated and remanded in light of Consolidated
Rail Corp. v. Darrone, 465 U.S. 624, 631-37 (1984), which held that plaintiffs could bring
Rehabilitation Act claims for employment discrimination without showing that the federal
funding’s primary purpose was to provide employment, as they must under Title VI. Consolidated
Rail did not call into question Meyerson’s reasoning that providing employment is not the primary
purpose of federal research grants.
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training” of students. Meyerson, 709 F.2d at 1237. Any “minimal and incidental effect on

employment” is not enough to satisfy the “primary objective” requirement; if it were, almost any

federal assistance would qualify since “almost all federal assistance results in an increase of at

least some employment.” Id.; see also 34 C.F.R. § 100.3(c) (providing narrow list of statutes with

primary purpose of providing employment). For these reasons, FASORP fails to show the Law

School received aid for which providing employment is a primary objective.

       Second, FASORP does not allege that the Law School’s hiring practices have had a

discriminatory effect on its students, who are the primary beneficiaries of the federal aid. FASORP

suggests that the Law School’s hiring practices have resulted in its hiring “less capable” professors,

Dkt. 25 ¶ 17; see id. ¶¶ 23, 36, 40, 42, but does not allege that the presence of those supposedly

less capable professors causes discrimination against students based on their race—an argument

that would fail in any event. See Cieslik v. Bd. of Educ. of Chi., 2021 WL 1172575, at *3 (N.D. Ill.

Mar. 29, 2021) (rejecting argument that Title VI applied to employment discrimination claims

because Chicago students received an “inferior education” due to discrimination against teachers

because, even if there were such discrimination, that “chain of reasoning does not explain how

students would be discriminated against on the basis of their race, color, or national origin”).

       Finally, even if FASORP could bring a Title VI suit, the faculty hiring allegations in the

FAC are too nonspecific and conclusory to state a claim for the reasons discussed supra at 6-10.

See Nartey v. Franciscan Health Hosp., 2 F.4th 1020, 1023 (7th Cir. 2021) (affirming dismissal of

Title VI claim due to conclusory allegations of discrimination).

               2.      FASORP Alleges Insufficient Facts To Support A Title VI Claim
                       Regarding Law Review Member And Editor Selection.

       FASORP does not identify any discriminatory policy in the selection of Law Review

members or editors. FASORP concedes that the Law Review represents that it “does not


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discriminate on the basis of race, ethnicity, religion, socioeconomic background, disability,

nationality, sexual orientation, gender orientation and identity, or ideological perspective.” Dkt.

25 ¶ 80. Nevertheless, FASORP contends that the Law Review uses “personal statements” to select

new members based on their protected characteristics. Id. ¶¶ 81-82. But FASORP does not plead

any specific facts necessary to support this conclusory assertion—a flaw that recently led a court

to dismiss a materially identical claim against another law review. See NYU III, 2024 WL 2847368,

at *6. As the court explained, “[a]lthough [plaintiff] alleges that the Law Review ‘is using …

statements of interest and résumés to give preferential treatment to [select minority groups]’ … he

offers no factual allegations in support of that assertion.” Id. (third alteration in original). The same

is true here: FASORP does not back up its conclusory assertions with specific allegations.

        Indeed, the closest FASORP comes to a specific allegation is that, in 2021, the Law Review

rejected “a white male student who had a first-year grade point average of over 4.0, while accepting

female and minority students with much lower first-year grades.” Dkt. 25 ¶ 83. Even if true, that

allegation does not support a discrimination claim. As FASORP expressly admits, the Law Review

selects new members based not just on grades, but also performance on a writing competition and

personal statements. Id. ¶¶ 80-81. And FASORP does not allege that the white male student

performed better, or even the same as, his female and minority colleagues on the writing

competition. Thus, FASORP does not plausibly allege he was rejected based on race.

        Moreover, the mere fact that the Law Review solicits personal statements does not itself

suffice to state a discrimination claim. In Students for Fair Admissions v. President & Fellows of

Harvard Coll., 600 U.S. 181 (2023), the Supreme Court made clear that the law does not

“prohibit[] universities from considering an applicant’s discussion of how race affected his or her

life, be it through discrimination, inspiration, or otherwise,” so long as “the student [is] treated



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based on his or her experiences as an individual.” Id. at 230-31. If claims attacking the use of

personal statements could predicate Title VI claims, then every federally-funded program that uses

personal statements and has expressed an interest in diversity “could be subjected to the costly and

burdensome prospect of discovery.” Harv. L. Rev. Ass’n, 2019 WL 3754023, at *8 n.16 (cleaned

up). The law does not permit, let alone demand, that result.

               3.      FASORP Alleges Insufficient Facts To Support A Title VI Claim
                       Regarding Article Selection.

       FASORP’s conclusory allegations regarding race discrimination in article selection are

likewise insufficient to state a Title VI claim. FASORP does not allege that the Law Review

rejected any specific article based on the author’s race, and as FASORP concedes, the Law Review

expressly represents that it “does not discriminate on the basis of race.” Dkt. 25 ¶ 83. FASORP’s

charge—unsupported by any facts—that the Law Review “gives discriminatory preferences to

articles written by women, racial minorities, homosexuals, or transgender people,” id. ¶ 97—is not

sufficient to state a claim, as FASORP has been told in its other cases. See NYU I, 2020 WL

1529311, at *7 (“FASORP fails to proffer any factual allegation describing the Law Review’s

article-selection process other than alleging that the Law Review receives background information

of the authors and asserting in a conclusory way that the process is discriminatory”); Harv. L. Rev.

Ass’n, 2019 WL 3754023, at *9 (“The complete absence of ‘factual material’ … is fatal to

[FASORP’s] claim of discriminatory article selection.”).

       Again, FASORP makes only one even remotely specific allegation: that in the 2023-2024

academic year, the editors of Volume 118 published an issue “consist[ing] only of articles written

by black women.” Dkt. 25 ¶ 84. But FASORP does not allege that the Law Review rejected any

otherwise publication-worthy articles by authors of other races; to the contrary, FASORP admits

that the Law Review did not announce a policy of selecting only articles written by Black women


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for that issue. Id. Nor does FASORP allege that any of its members submitted articles for this

issue. See supra at 11. And FASORP’s newly-added plagiarism allegations regarding an accepted

article are irrelevant, as they do nothing to demonstrate that the articles in Volume 118 were chosen

as a result of discrimination. Absent any specific allegation suggesting the Law Review denied

publication opportunities based on race, FASORP fails to state a Title VI claim.

       C.      FASORP Fails To State A Title IX Claim Against Any Defendant.

       Title IX prohibits discrimination on the basis of sex in federally-funded programs. See 20

U.S.C. § 1681(a). FASORP’s Title IX faculty hiring claim should be dismissed because it is

precluded by Title VII, and FASORP’s conclusory allegations regarding faculty hiring and Law

Review member, editor, and article selection fail to state a Title IX claim.

               1.      Title VII Precludes FASORP’s Title IX Employment Claim.

       FASORP’s faculty hiring Title IX claim fails as a matter of law because Title VII precludes

it. “Title VII precludes other causes of actions for employment discrimination to the extent that

Title VII would provide an equivalent remedy.” Agbefe, 538 F. Supp. 3d at 840.

       FASORP asserts that its Title IX claim is not precluded because Title VII would not

provide an equivalent remedy to what it seeks here—i.e., “an injunction that restrains

Northwestern University from accepting any federal funds” until it meets certain conditions

FASORP wants to see imposed. Dkt. 25 ¶ 131. But “[o]nly the federal agencies providing the

funds are expressly authorized to effect such a termination” of funding. Guardians Ass’n of N.Y.C.

Police Dep’t, Inc. v. Civ. Serv. Comm’n of City of N.Y., 633 F.2d 232, 258 (2d Cir. 1980), aff’d,

463 U.S. 582 (1983); NAACP v. Med. Ctr., Inc., 599 F.2d 1247, 1255 n.27 (3d Cir. 1979) (private

plaintiff may not “invoke[e] the executive’s power to terminate funds”); Adams v. Bell, 711 F.2d

161, 190 (D.C. Cir. 1983) (“[C]ourts that imply private suits against fund recipients generally will

not enjoin payment of federal funds.”). FASORP thus cannot obtain an injunction under Title IX

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to force federal agencies to stop funding Northwestern. Nor can it seek to prevent Northwestern

from receiving federal funds, as such a remedy would “encroach upon the powers of Congress and

the President,” Abramson v. Bennett, 707 F. Supp. 13, 16 (D.D.C. 1989). Moreover, at bottom,

FASORP’s demand just seeks an injunction to stop the alleged discrimination, which is available

under Title VII, too. See O'Sullivan v. City of Chi., 478 F. Supp. 2d 1034, 1039 (N.D. Ill. 2007)

(noting that, where discrimination is found, Title VII has long “provided for injunctions to bar like

discrimination in the future”) (internal quotation marks omitted).

       The conclusion that Title VII precludes FASORP’s Title IX claim follows from the Seventh

Circuit’s repeated admonition that “all employment-discrimination claims must be brought under

Title VII.” Brown v. Ill. Dep’t of Hum. Servs., 717 F. App’x 623, 625-26 (7th Cir. 2018) (emphasis

added) (citations omitted). It is also supported by the wall of cases dismissing Title IX employment

claims as precluded by Title VII. E.g., Washington v. Bd. of Educ. of Chi., 2021 WL 5881682, at

*4 (N.D. Ill. Dec. 8, 2021); Saud v. DePaul Univ., 2019 WL 5577239, at *5 (N.D. Ill. Oct. 29,

2019) (collecting cases); Ludlow v. Nw. Univ., 125 F. Supp. 3d 783, 785 (N.D. Ill. 2015).

       Finally, even if FASORP theoretically could bring a Title IX suit, the FAC’s faculty hiring

allegations are too vague and conclusory to state a claim for the reasons discussed supra at 6-10.

See infra at 20-21 (collecting cases dismissing Title IX claims as “too vague and conclusory”).

               2.      FASORP Alleges Insufficient Facts To Support A Claim of Gender
                       Discrimination In Member, Editor, And Article Selection.

       As with Title VI, FASORP’s conclusory allegations regarding discrimination in the

selection of Law Review members, editors, and articles do not suffice to state a Title IX claim.

The Seventh Circuit has repeatedly affirmed dismissal of Title IX claims that are “too vague and

conclusory.” Jauquet v. Green Bay Area Cath. Educ., Inc., 996 F.3d 802, 811 (7th Cir. 2021); see

also Doe v. Columbia. Coll. Chi., 933 F.3d 849. 854 (7th Cir. 2019); Gabrielle M. v. Park Forest-


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Chicago Heights Sch. Dist. 163, 315 F.3d 817, 822 (7th Cir. 2003). As explained above,

FASORP’s vague assertions about a single male student who is not a party and a single Law

Review issue to which none of its members are alleged to have submitted articles are insufficient

to show sex discrimination. See supra at 10-11. Accordingly, these claims should be dismissed.

       D.      FASORP Fails To State A Section 1981 Claim Against Any Defendant.

       Section 1981 provides that “[a]ll persons within the jurisdiction of the United States shall

have the same right in every State and Territory to make and enforce contracts … as is enjoyed by

white citizens.” 42 U.S.C. § 1981(a); see McDonald v. Santa Fe Trail Transp. Co., 427 U.S. 273,

286-87 (1976). FASORP fails to state a Section 1981 claim.

               1.      FASORP Fails To Adequately Allege A Section 1981 Discrimination
                       Claim Regarding Faculty Hiring.

       FASORP fails to state a Section 1981 claim as to faculty hiring for two independent

reasons. “The legal analysis for discrimination claims under Title VII and § 1981 is largely

identical,” with the exception of the more stringent but-for causation requirement that

Section 1981 claimants must meet. Lewis v. Ind. Wesleyan Univ., 36 F.4th 755, 759 (7th Cir. 2022).

Under either statute, to bring a failure-to-hire claim based on indirect evidence of discrimination,

a plaintiff must plead “(1) he is a member of a protected class; (2) he applied for, and was qualified

for, an open position; (3) the employer rejected him for the position; and (4) the employer filled

the position with an individual outside of the plaintiff’s protected class, or the position remained

vacant.” Bennett v. Roberts, 295 F.3d 687, 694 (7th Cir. 2002). FASORP fails to adequately allege

that Individual A, B, or C—or any other FASORP member—applied or was qualified for any open

position. In addition, FASORP fails to plausibly allege that race was the but-for cause of its

members not being hired—as required under Section 1981.




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                       a.     FASORP Does Not Plausibly Allege That Any Member Applied To,
                              Or Was Qualified For, Any Position At The Law School

       FASORP’s Section 1981 hiring claim fails because it does not adequately allege that any

of its members applied to and were qualified for a Law School position. Courts routinely dismiss

Section 1981 claims for failure to meet this pleading requirement. See, e.g., Payne v. Abbott

Lab’ys, 999 F. Supp. 1145, 1152 (N.D. Ill. 1998) (dismissing complaint for failure to allege

“specific instances or facts regarding when plaintiffs applied for promotions”); Ivens v. GK N.

Childcare Corp., 2022 WL 602913, at *2 (N.D. Ind. Mar. 1, 2022) (same). Absent adequate

allegations regarding FASORP members applying and being rejected despite being qualified,

FASORP cannot show that any member was not hired due to race—especially when the Law

School has interviewed, extended offers to, and hired white male candidates over the years in

question. Dkt. 25 ¶¶ 45-48.

       Although FASORP amended its complaint to state that Individuals A and C (but not B)

applied, those allegations are insufficient for the reasons described above. FASORP alleges they

applied for entry-level positions, but fails to allege when or whether those applications overlapped

with those of the Black professors identified in the FAC. FASORP’s claims based on entry-level

applications are also likely time-barred.5 Nor do FASORP’s claims that Individuals A and C

expressed “interest” in lateral positions to unnamed faculty at some unspecified time suffice. See




5
  FASORP alleges, for instance, that Individual C has been teaching for 20 years, Dkt. 25 ¶ 111,
so any entry-level application by him falls well outside Section 1981’s four-year statute of
limitations. See Riley v. Elkhart Cmty. Sch., 829 F.3d 886, 891 (7th Cir. 2016); see also Monroe v.
Columbia Coll. Chi., 990 F.3d 1098, 1099-1100 (7th Cir. 2021) (two-year statute of limitations
for Title VI); Small v. Chao, 398 F.3d 894, 898-99 (7th Cir. 2005) (same for Title IX).
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supra at 7-8 (noting lack of sufficient detail regarding how and when Individuals A and C allegedly

applied).

        Similarly, FASORP does not plausibly allege that any of its members were qualified. See

supra at 8-10 (summarizing missing information regarding qualifications). Courts routinely

dismiss Section 1981 employment discrimination claims that fail to adequately allege the

plaintiff’s qualifications. See, e.g., Barnes v. Solo Cup Co., 2013 WL 2156054, at *3 (N.D. Ill.

May 16, 2013) (plaintiff failed to allege he was “similarly situated to, or more qualified than,” an

employee of a different race who was promoted); Jones v. Michael Reese Hosp., 1991 WL 105583,

at *3 (N.D. Ill. June 7, 1991) (plaintiff “fail[ed] to allege that she was qualified” for the job); Brown

v. Ferrara Candy Co., 2023 WL 6519973, at *9 (N.D. Ill. Oct. 5, 2023) (plaintiff “d[id] not

elaborate on his qualifications for the job”). The Court should do the same here.

                        b.      FASORP Fails To Adequately Allege But-For Causation.

        FASORP also fails to adequately allege but-for causation. A Section 1981 plaintiff must

“plead and ultimately prove that, but for race, it would not have suffered the loss of a legally

protected right.” Comcast Corp. v. Nat’l Ass’n of Afr. Am.-Owned Media, 589 U.S. 327, 341

(2020); see Sanchez v. Tootsie Roll Indus., LLC, 2021 WL 4936240, at *5 (N.D. Ill. May 18, 2021)

(“Even at the pleading stage, the causation requirement is robust.”). To satisfy Section 1981’s

but-for causation requirement, a plaintiff must plausibly allege the defendant would have made a

different decision had the plaintiff been a different race. Comcast, 589 U.S. at 336-37.

        FASORP does not plead any facts suggesting that Individual A, B, or C would have been

hired but for their race. As noted above, FASORP fails to adequately allege when or how

Individuals A and C actually applied. See supra at 7-8. Even if it had, their applications could have

been denied for any number of legitimate reasons, including that they did not teach in a subject

area where faculty were needed, did not teach at a sufficiently highly ranked school, or did not
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otherwise have an adequate publication or academic record. FASORP thus cannot satisfy Section

1981’s but-for causation requirement. See Onyango v. Nick & Howard, LLC, 607 F. App’x 552,

555 (7th Cir. 2015) (rejecting Section 1981 claim because plaintiff failed to “plausibly allege” that

defendant’s action and plaintiff’s injury were “causally connected”); Sanchez, 2021 WL 4936240,

at *6 (dismissing Section 1981 claim for failure to allege race was the but-for cause of termination).

Nor do FASORP’s irrelevant and invidious charges of plagiarism against one newly hired Black

professor somehow help FASORP establish that race was the reason its members were not hired.

       Finally, FASORP points to charts allegedly showing “how Northwestern has conducted its

interviews and hiring decisions over the last three academic years,” ostensibly to establish but-for

causation through statistics. Dkt. 25 ¶ 46. In doing so, FASORP pleads itself out of court, as its

statistics discredit any suggestion of but-for causation. See id. (showing white applicants received

a majority of all offers and at least half of offers each year, and white interviewees had a higher

offer rate than non-white interviewees). And no matter how they are sliced, FASORP’s statistics

fall far short of being “of a level that makes other plausible non-discriminatory explanations very

unlikely.” Alameda v. Ass’n of Soc. Work Bds., 2024 WL 4302389 (S.D.N.Y. Sept. 25, 2024)

(dismissing Section 1981 claim grounded in statistics for failing “to plausibly plead the intentional

discrimination necessary”) (internal quotation marks omitted).

       Absent allegations supporting but-for causation, FASORP’s Section 1981 hiring claim

should be dismissed.

               2.      FASORP Alleges Insufficient Facts To Support A Section 1981
                       Discrimination Claim Regarding Law Review Member, Editor, Or
                       Article Selection.

       FASORP fails to state a Section 1981 claim as to the selection of student members and

editors of the Law Review. First, FASORP alleges no contractual relationship between the student

members and the Law Review. “Any claim brought under § 1981 … must initially identify an
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impaired ‘contractual relationship,’ [] under which the plaintiff has rights.” Domino’s Pizza, Inc.

v. McDonald, 546 U.S. 470, 476 (2006) (citations omitted). Because FASORP fails to do so, its

claim should be dismissed. See Collier v. Rodriguez, 1996 WL 535326, at *3 (N.D. Ill. Sept. 18,

1996) (dismissing Section 1981 claim because “no contracts are at issue here”). Second, even if

FASORP identified a contractual relationship, FASORP’s Section 1981 claim still fails, as it does

not sufficiently allege race was the but-for cause of any student’s rejection from the Law Review,

let alone a FASORP member’s rejection. See Comcast, 589 U.S. at 341; supra at 10-11.

       Finally, FASORP’s conclusory allegations regarding discrimination in article selection are

insufficient to state a Section 1981 claim. FASORP does not allege that the Law Review imposes

any race-based qualifications on articles. As noted above, the most FASORP alleges is that

Volume 118 had an issue “consist[ing] only of articles written by black women.” Dkt. 25 ¶ 84. But

FASORP does not adequately allege that the Law Review rejected any publication-worthy articles

by authors of other races for this issue—or any other issue—let alone that FASORP members were

deprived of any opportunity to enter a contract with the Law Review based on their race.

                                          CONCLUSION

       The FAC lacks merit. It serves only as a vehicle to baselessly malign professors due to

their race and gender and to advance the political agenda of FASORP and the organizations behind

it. Because the law requires more to maintain an action in federal court, this Court should dismiss

the complaint, either without leave to amend if dismissed for lack of standing, or with prejudice if

dismissed on the merits. See MAO-MSO Recovery II, LLC v. State Farm Mut. Auto. Ins. Co., 935

F.3d 573, 581 (7th Cir. 2019). FASORP has already had one opportunity to amend its complaint

following a motion to dismiss, and having failed to cure its core deficiencies, it should not be given

a third bite at the apple. See Ibarrola v. Kind, LLC, 83 F. Supp. 3d 751, 761 (N.D. Ill. 2015) (citing

cases dismissing FACs with prejudice).
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Dated: October 28, 2024                 Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2024, I filed the foregoing with the Clerk of Court by

using the CM/ECF system and sent via electronic transmission to all parties of record.



                                                    /s/ Danielle Conley
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